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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA, et al.,

                                Plaintiffs,            Case No. 1:20-cv-03010-APM

 v.                                                    HON. AMIT P. MEHTA
 GOOGLE LLC,

                                Defendant.


 STATE OF COLORADO, et al.,

                                Plaintiffs,            Case No. 1:20-cv-03715-APM

 v.                                                    HON. AMIT P. MEHTA
 GOOGLE LLC,

 Defendant.



      CONSENT NOTICE OF PLAINTIFFS’ EXHIBITS OFFERED FOR ADMISSION

        Plaintiffs offer the remedies trial exhibits listed in Exhibit A for admission into evidence,

without objection. These exhibits consist of exhibits listed on Plaintiffs’ remedies exhibit list to

which Google made no specific objection in its objections and response to that list.

April 18, 2025                                 Respectfully submitted,

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PXR0001          PXR0002            PXR0004                  PXR0005
PXR0006          PXR0009            PXR0011                  PXR0012
PXR0013          PXR0014            PXR0015                  PXR0017
PXR0018          PXR0019            PXR0020                  PXR0021
PXR0024          PXR0025            PXR0026                  PXR0028
PXR0029          PXR0030            PXR0031                  PXR0032
PXR0033          PXR0034            PXR0035                  PXR0036
PXR0037          PXR0038            PXR0041                  PXR0042
PXR0043          PXR0047            PXR0048                  PXR0049
PXR0050          PXR0052            PXR0053                  PXR0056
PXR0057          PXR0058            PXR0059                  PXR0061
PXR0063          PXR0064            PXR0070                  PXR0071
PXR0072          PXR0074            PXR0075                  PXR0076
PXR0077          PXR0078            PXR0080                  PXR0085
PXR0086          PXR0087            PXR0088                  PXR0089
PXR0090          PXR0091            [intentionally blank]    PXR0094
PXR0095          PXR0096            PXR0097                  PXR0098
PXR0099          PXR0100            PXR0101                  PXR0102
PXR0103          PXR0104            PXR0105                  PXR0106
PXR0107          PXR0108            PXR0109                  PXR0111
PXR0112          PXR0113            PXR0114                  PXR0116
PXR0117          PXR0118            PXR0119                  PXR0120
PXR0121          PXR0122            PXR0123                  PXR0124
PXR0126          PXR0127            PXR0128                  PXR0130
PXR0131          PXR0132            PXR0137                  PXR0139
PXR0141          PXR0142            PXR0143                  PXR0144
PXR0147          PXR0148            PXR0150                  PXR0151
PXR0152          PXR0153            PXR0157                  PXR0158
PXR0159          PXR0160            PXR0161                  PXR0162
PXR0163          PXR0164            PXR0166                  PXR0167
PXR0170          PXR0171            PXR0172                  PXR0173
PXR0174          PXR0176            PXR0177                  PXR0178
PXR0179          PXR0180            PXR0182                  PXR0183
PXR0184          PXR0185            PXR0186                  PXR0187
PXR0188          PXR0189            PXR0191                  PXR0192
PXR0194          PXR0195            PXR0196                  PXR0197
PXR0198          PXR0199            PXR0200                  PXR0201
PXR0203          PXR0204            PXR0205                  PXR0206
PXR0207          PXR0208            PXR0209                  PXR0210
PXR0211          PXR0212            PXR0213                  PXR0214
PXR0215          PXR0216            PXR0217                  PXR0218
PXR0219          PXR0220            PXR0222                  PXR0223
PXR0224          PXR0225            PXR0226                  PXR0230
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PXR0231          PXR0232            PXR0233                 PXR0234
PXR0235          PXR0237            PXR0238                 PXR0239
PXR0242          PXR0245            PXR0246                 PXR0247
PXR0249          PXR0252            PXR0253                 PXR0254
PXR0256          PXR0257            PXR0258                 PXR0260
PXR0261          PXR0263            PXR0264                 PXR0265
PXR0266          PXR0267            PXR0270                 PXR0271
PXR0272          PXR0273            PXR0274                 PXR0276
PXR0277          PXR0278            PXR0279                 PXR0280
PXR0281          PXR0282            PXR0283                 PXR0284
PXR0285          PXR0501            PXR0502                 PXR0503
PXR0504          PXR0505            PXR0506                 PXR0507
PXR0508          PXR0509            PXR0510                 PXR0511
PXR0512          PXR0513            PXR0514                 PXR0515
PXR0516          PXR0517            PXR0518                 PXR0519
PXR0520          PXR0521            PXR0522                 PXR0523
PXR0524          PXR0525            PXR0526                 PXR0527
PXR0528          PXR0529            PXR0530                 PXR0531
PXR0532          PXR0533            PXR0534                 PXR0535
PXR0536          PXR0537            PXR0538                 PXR0539
PXR0540          PXR0541            PXR0542                 PXR0543
PXR0544          PXR0545            PXR0546                 PXR0547
PXR0548          PXR0549            PXR0550                 PXR0551
PXR0552          PXR0553            PXR0554                 PXR0555
PXR0556          PXR0557            PXR0558                 PXR0559
PXR0560          PXR0561            PXR0562                 PXR0563
PXR0564          PXR0565            PXR0566                 PXR0567
PXR0568          PXR0569            PXR0570                 PXR0571
PXR0572          PXR0573            PXR0574                 PXR0575
PXR0576          PXR0577            PXR0578                 PXR0579
PXR0580          PXR0581            PXR0582                 PXR0583
PXR0584          PXR0585            PXR0586                 PXR0587
PXR0588          PXR0589            PXR0590                 PXR0591
PXR0592          PXR0593            PXR0594                 PXR0595
PXR0596          PXR0597            PXR0598                 PXR0599
PXR0600          PXR0601            PXR0602                 PXR0603
PXR0604          PXR0605            PXR0701                 PXR0702
PXR0703          PXR0704            PXR0705                 PXR0706
PXR0707          PXR0708            PXR0709                 PXR0710
PXR0711          PXR0712            PXR0713                 PXR0714
PXR0715          PXR0716            PXR0717                 PXR0718
PXR0719          PXR0720
